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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ANDREW FIRSTMAN, MARK               )
HORNCASTLE and CHRISTIAN CRAM, )
                                    )
               Petitioners,         )                CIVIL ACTION
                                    )                FILE NO. ___________
v.                                  )
                                    )
CREDIT SUISSE SECURITIES            )
(USA), LLC,                         )
                                    )
               Respondent.          )
____________________________________)

             PETITION TO CONFIRM ARBITRATION AWARD

      Petitioners Andrew Firstman, Mark Horncastle and Christian Cram, by their

undersigned counsel, and pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C.

§§ 1, et seq., petition this Court for an order and judgment confirming the arbitration

award entered against Respondent Credit Suisse Securities (USA), LLC, in FINRA

Case No. 17-01632 (the “Arbitration”) on September 6, 2019.

                                     The Parties

      1.     Petitioner Andrew Firstman (“Firstman”) resides at 845 Cooper Sandy

Cove, Milton, Georgia 30004 and is deemed to be a citizen of the state of Georgia

for purposes of federal jurisdiction diversity analysis.
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      2.     Petitioner Christian Cram (“Cram”) resides at 3205 Mae Avenue,

Atlanta, Georgia 30319 and is deemed to be a citizen of the state of Georgia for

purposes of federal jurisdiction diversity analysis.

      3.     Petitioner Mark Horncastle (“Horncastle”) resides at 4621 NE 25th

Avenue, Fort Lauderdale, Florida 33308 and is deemed to be a citizen of the state of

Florida for purposes of federal jurisdiction diversity analysis.

      4.     Respondent Credit Suisse Securities (USA), LLC (“Credit Suisse”) is a

Delaware limited liability company with its principal place of business at 11

Madison Avenue, New York, NY 10010. Credit Suisse’s sole member is Credit

Suisse (USA), Inc., which is a Delaware corporation with its principal place of

business at 11 Madison Avenue, New York, NY 10010. Respondent Credit Suisse

is deemed to be a citizen of the state of Delaware for purposes of federal jurisdiction

diversity analysis.

                              Jurisdiction and Venue

      5.     This Court has diversity jurisdiction under 28 U.S.C. § 1332, because

this is an action between citizens of different states in which the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, as

demonstrated in the Arbitration Award (the “Award”). A true and correct copy of

the Award is attached hereto as Exhibit A.

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      6.     This Court has personal jurisdiction over Respondent because

Respondent conducted substantial business in the State of Georgia and because its

arbitration Submission Agreement states that with respect to “a judgment and any

interest due thereon,” Respondent agrees to “voluntarily consent to submit to the

jurisdiction of any court of competent jurisdiction which may properly enter such

judgment.” See Exhibit B, attaching true and correct copies of the parties’

Submission Agreements.

      7.     This judicial district is a proper venue under 28 U.S.C. § 1391 and L.R.

3.1(B)(2) and (B)(3) because Petitioners Firstman and Cram reside within the

Atlanta division, the parties agreed to “voluntarily consent to submit to the

jurisdiction of any court of competent jurisdiction which may properly enter such

judgment,” and because a substantial part of the events giving rise to this Petition

occurred in this judicial district. In particular, the arbitration proceeding at issue was

conducted in the Northern District of Georgia.

                                 Factual Allegations

      8.     Petitioners are former employees of Respondent, were registered with

FINRA as brokers at Credit Suisse, and were employed in Credit Suisse’s Atlanta,

Georgia branch office.




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      9.     On October 20, 2015, Credit Suisse announced that it would close its

U.S. private banking operation on some unspecified date, but purportedly no later

than the first quarter of 2016. Rather than sell the business outright, Credit Suisse

engineered a structure whereby it entered into an “exclusive recruiting” agreement

with Wells Fargo that would supposedly enable Credit Suisse’s investment advisors

to “transition to Wells Fargo’s brokerage business.”

      10.    After visiting Wells Fargo and conducting due diligence, Petitioners

determined that Wells Fargo was unacceptable to them and to their clients. They

commenced employment with another firm, J.P. Morgan Securities LLC (“JPM”),

on November 20, 2015.

      11.    Credit Suisse failed and refused to pay Petitioners compensation earned

by them during their employment, including deferred compensation and revenue

trailers relating to certain alternative investments.

      12.    On or about June 20, 2017, Petitioners filed a Statement of Claim at

FINRA seeking damages of over $1.5 million. On or about August 31, 2017,

Respondent filed an Answer and Counterclaims. On or about September 20, 2017,

Petitioners filed an Answer to Counterclaims.

      13.    Both Petitioners and Respondent executed Submission Agreements, in

which they agreed to “submit the present matter in controversy, as set forth in the

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attached statement of claim, answers, and all related cross claims, counterclaims

and/or third-party claims which may be asserted, to arbitration in accordance with

the FINRA By-Laws, Rules, and Code of Arbitration Procedure.” See Exhibit B.

      14.    The Submission Agreements contained in Exhibit B constitute the

parties’ agreement to arbitrate.

      15.    The parties in the Arbitration engaged in substantial discovery,

including production of over 27,000 pages of documents by Petitioners and over

27,000 pages by Respondent. The parties also filed prehearing briefs with the

Arbitration panel setting forth their legal arguments and authorities.

      16.    The Arbitration hearings were held over 16 days between October 29,

2018 and July 19, 2019, in Atlanta, Georgia. The parties introduced over 490

exhibits during the hearings. Closing arguments before the Arbitration panel took

place on July 19, 2019 and were conducted over approximately six hours.

      17.    After considering the pleadings, prehearing briefs, testimony, evidence

and closing arguments of the parties, the Arbitrators issued the Award on September

6, 2019. A true and correct copy of the Award is attached as Exhibit A.

      18.    The parties’ agreed in their Submission Agreements that “judgment and

any interest due thereon, may be entered” on the Award and that the parties




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“voluntarily consent to submit to the jurisdiction of any court of competent

jurisdiction which may properly enter such judgment.” See Exhibit B at ¶¶ 4.

      19.       Under the FAA, a party has one year to apply for confirmation of an

arbitration award. 9 U.S.C. § 9. Given that the award was issued on September 6,

2019, the petition is timely.

      20.       No previous application has been made for the relief sought herein.

                               Petition to Confirm Award

      21.       Petitioners repeat and reallege all previous paragraphs as if fully set

forth herein.

      22.       The Award should now be confirmed pursuant to Section 9 of the FAA,

which states that a court must confirm an award unless there is a clear statutory

ground for vacating or modifying the award under Section 10 or 11 of the FAA. No

such statutory ground exists in this case.

      23.       The arbitrators in the case acted within their authority in reaching their

decision and made the Award based on the evidence. Therefore, the Court must

confirm the Award and issue a judgment under the FAA’s limited and deferential

standard.

                                    Prayer for Relief

      WHEREFORE, Petitioners respectfully request that this Court:

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1.    Issue an Order pursuant to 9 U.S.C. § 9 confirming the arbitration Award

attached hereto as Exhibit A.

2.    Enter judgment in the amount specified in the Award, including:

      a)    Compensatory damages in the amount of $1,010,000.00 for Petitioner

      Firstman; $660,000.00 for Petitioner Horncastle; and $85,000.00 for

      Petitioner Cram;

      b)    Interest on the above compensatory damages at the rate of 7%, pursuant

      to Ga. Code Ann. §§ 7-4-2 and 13-6-13, starting on October 20, 2015 until the

      date of the Award;

      b)    Interest on the above compensatory damages at the rate of 7% per

      annum from the date of the Award forward;

      c)    Costs in the amount of $97,596.47;

      d)    Petitioners’ attorneys’ fees in the amount of $719,000, pursuant to Ga.

      Code Ann. § 13-6-11;

      e)    Reimbursement of the non-refundable portion of the claim filing fee

      previously paid by Petitioners to FINRA Dispute Resolution, which is

      $375.00; and

3.    Such other and further relief as the Court may deem just, fair, and equitable.




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Respectfully submitted this 6th day of September, 2019.

                                      /s/ Thomas J. Gallo
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                     CERTIFICATE OF COMPLIANCE

      As required by Local Rule 7.1D, I hereby certify that this pleading has been

prepared with Times New Roman, 14-point font, one of the fonts required by this

Court in Local Rule 5.1C.

                                               /s/ Thomas J. Gallo
                                               Thomas J. Gallo
                                               Georgia Bar No. 283048




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of September, 2019, a true copy of

Petitioner’s Petition to Confirm Arbitration Award has been served upon all

parties via U.S. First-Class Mail and e-mail as follows:

             Janene Marasciullo, Esq.
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                                                 /s/ Thomas J. Gallo
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